        Case 1:09-cv-00108-LJB Document 104 Filed 10/11/13 Page 1 of 2




             In the United States Court of Federal Claims
                                    No. 09-108 T

                              (Filed October 11, 2013)

* * * * * * * * * * * * * * * * * * * * * **
AMERGEN ENERGY CO., LLC by *
and through EXELON GENERATION *
CO., LLC, tax matters partner,             *
                                           *
                    Plaintiff,             *
                                           *
              v.                           *
                                           *
THE UNITED STATES,                         *
                                           *
                    Defendant.             *
**********************

                                       ORDER

       On October 10, 2013, defendant filed a Motion for a Stay of Briefing in
Light of Lapse of Appropriations. Based on the lapse in appropriations to the
Department of Justice as of September 30, 2013, the government requests “a stay
of briefing of plaintiff’s Motion to Maintain Certain Filings Under Seal.” The
government further requests that “all current deadlines for the parties regarding
plaintiff’s Motion to Maintain Certain Filings Under Seal be extended
commensurate with the duration of the lapse in appropriations.”

      Defendant states that plaintiff has no objection to defendant’s motion. For
good cause shown, the court grants defendant’s request.

      Accordingly, it is hereby ORDERED that:

      (1)    Defendant’s Motion for a Stay of Briefing in Light of Lapse of
             Appropriations, filed October 10, 2013, is GRANTED; and
 Case 1:09-cv-00108-LJB Document 104 Filed 10/11/13 Page 2 of 2




(2)   Immediately upon restoration of appropriations to the Department of
      Justice, the parties shall CONFER and, as soon as practicable
      thereafter, shall FILE a Status Report setting forth an agreed upon
      deadline for the filing of defendant’s response to plaintiff’s Motion to
      Maintain Certain Filings Under Seal before the court in this matter.




                                       /s/Lynn J. Bush
                                       LYNN J. BUSH
                                       Judge




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